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 4
     Attorney for Defendant
 5
     YGNACIA BRADFORD
 6

 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                            SACRAMENTO DIVISION
11

12
     UNITED STATES OF AMERICA,                       ) Case No. CR S 10-0223-JAM
13                                                   )
                                  Plaintiff,         )
14                                                   ) STIPULATION AND ORDER TO
            vs.                                      ) RESCHEDULE JUDGMENT AND
15                                                   ) SENTENCING
                                                     )
16                                                   )
     YGNACIA BRADFORD,                               )
17                                                   )
                                  Defendants.        )
18                                                   )
19

20           IT IS HEREBY STIPULATED by and between the parties, the UNITED STATES
21   OF AMERICA, through undersigned counsel, Phillip A. Ferrari, Assistant United States
22   Attorney, and Joseph J. Wiseman, attorney for Ygnacia Bradford, that Judgment and
23   Sentencing of Defendant Bradford, scheduled for October 7, 2014, be vacated and
24   rescheduled for October 14, 2014 at 9:30 a.m.
25   /////
26   /////
27   /////
28   /////


                                                      1
     Stipulation and (Proposed Order to Reschedule                  Case No. CR.10-0223 JAM
     Judgment and Sentencing
       Case 2:10-cr-00223-JAM Document 636 Filed 09/24/14 Page 2 of 2


 1           The parties are entering this stipulation because of a conflict with Mr. Wiseman’s
 2   schedule.
 3   Dated: September 23, 2014                       Respectfully submitted,
 4
                                                     By: /s/ Joseph J. Wiseman
 5                                                   JOSEPH J. WISEMAN
                                                     Attorney for Defendant
 6                                                   YGNACIA BRADFORD
 7
     Dated: September 23, 2014                       By: /s/ Phillip A. Ferrari
 8                                                   PHILLIP A. FERRARI
                                                     Assistant U.S. Attorney
 9                                                   Attorney for the United States
10

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14                                            PROPOSED ORDER

15           GOOD CAUSE APPEARING, it is hereby ordered that Judgment and Sentencing
16   of Defendant Bradford be rescheduled for October 14, 2014 at 9:30 a.m.
17

18   IT IS SO ORDERED.
19
     Dated: 9/24/2014                                      /s/ John A. Mendez__________
20
                                                           HON. JOHN A. MENDEZ
21                                                         United States District Court Judge

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     Stipulation and (Proposed Order to Reschedule                          Case No. CR.10-0223 JAM
     Judgment and Sentencing
